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   8                             UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
  10                                  SOUTHERN DIVISION
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  12   UNITED STATES OF AMERICA,                        Case No. 8:19-cv-00792 JLS (JDEx)
  13                Plaintiff,
  14                    v.                             [PROPOSED] JUDGMENT
  15   LAXMAN PATEL, JASHU PATEL,
       HITEN PATEL, AND ANITA PATEL,
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                    Defendants.
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          The Defendants’ Motion for Summary Judgment against the United States came
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       before the Court on June 28, 2019, the Honorable Josephine L. Staton presiding.
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       After carefully reviewing all matters properly part of the record, and good cause
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       appearing,
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          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:
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          1. The Defendants’ Motion for Summary Judgment against Plaintiff United
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       States of America is GRANTED.
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          2. The assessments as to all Defendants for all years in issue are VOID.
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          3. The statute of limitations on assessment has expired for years 2010 and 2011.
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          4. The Defendants are entitled to recover the monies paid toward the unlawful
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   1   assessments in the amount of $5,000, plus interest.
   2      5. The Defendants are entitled to recover the costs of litigation, including
   3   attorney’s fees.
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   5   DATED:
                                                      JOSEPHINE L. STATON
   6                                                  UNITED STATES DISTRICT JUDGE
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